Fill in this information to identify the case:

Debtor 1              Matthew M. Smith

Debtor 2              Cindy M. Smith
(Spouse, if filing)

United States Bankruptcy Court for the : Middle                   District of Pennsylvania
                                                                             (State)

Case number           1:18-bk-02366-HWV



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                               12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             LAKEVIEW LOAN SERVICING, LLC                        Court claim no. (if known):         19

Last four digits of any number you                XXXXXX1669                      Date of payment change:
use to identify the debtors’ account:                                             Must be at least 21 days after date of             1/1/2022
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any           $1,309.68

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ 431.77                                      New escrow payment :          $ 436.61

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                       %                               New interest rate:          %

             Current principal and interest payment:      $ _________                     New principal and interest payment:         $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:               $ _________                            New mortgage payment:             $ _________




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 Debtor 1            Matthew M. Smith                                               Case number (if known) 1:18-bk-02366-HWV
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Michael J. McCormick                                                           Date     11/04/2021
     Signature

Print:         Michael               J.                         McCormick              Title   Authorized Agent for Creditor
               First Name            Middle Name                Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                  30076
               City                          State               ZIP Code

Contact phone      678-281-3918                                                        Email    Michael.McCormick@mccalla.com




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                                                        Bankruptcy Case No.:      1:18-bk-02366-HWV
 In Re:                                                 Chapter:                  13
           Matthew M. Smith                             Judge:                    Henry W. Van Eck
           Cindy M. Smith

                                       CERTIFICATE OF SERVICE

       I, Michael J. McCormick, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I caused to be served a copy of the within NOTICE OF MORTGAGE
PAYMENT CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by
regular United States Mail, with proper postage affixed, unless another manner of service is expressly
indicated:

Matthew M. Smith
336 Pleasant Drive
Selinsgrove, PA 17870

Cindy M. Smith
336 Pleasant Drive
Selinsgrove, PA 17870

Chad James Julius                                 (served via ECF Notification)
Upright Law, LLC
8150 Derry Street, Suite A
Harrisburg, PA 17111

Jack N Zaharopoulos (Trustee)                     (served via ECF Notification)
Standing Chapter 13 Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

Asst. U.S. Trustee                                (served via ECF Notification)
United States Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:        11/05/2021        By:     /s/Michael J. McCormick
                      (date)                  Michael J. McCormick
                                              Authorized Agent for Creditor




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